      Case 3:20-cv-06754-WHA Document 877 Filed 11/07/23 Page 1 of 8




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Sean Pak (Bar No. 219032)
 2  seanpak@quinnemanuel.com
    Melissa Baily (Bar No. 237649)
 3  melissabaily@quinnemanuel.com
    James Judah (Bar No. 257112)
 4  jamesjudah@quinnemanuel.com
    Lindsay Cooper (Bar No. 287125)
 5  lindsaycooper@quinnemanuel.com
    Iman Lordgooei (Bar No. 251320)
 6  imanlordgooei@quinnemanuel.com
   50 California Street, 22nd Floor
 7 San Francisco, California 94111-4788
   Telephone: (415) 875-6600
 8 Facsimile:     (415) 875-6700

 9   Marc Kaplan (pro hac vice)
    marckaplan@quinnemanuel.com
10 191 N. Wacker Drive, Ste 2700
   Chicago, Illinois 60606
11 Telephone: (312) 705-7400
   Facsimile:     (312) 705-7401
12
   Attorneys for GOOGLE LLC
13
                                  UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN FRANCISCO DIVISION
16
                                                  Case No. 3:20-cv-06754-WHA
17                                                Consolidated with Case No. 3:21-cv-07559-
    SONOS, INC.,                                  WHA
18
                    Plaintiff and Counter-        GOOGLE LLC’S NOTICE OF MOTION
19                  Defendant,                    AND MOTION TO AMEND THE
                                                  JUDGMENT PURSUANT TO FED. R.
20         vs.                                    CIV. P. 59(E)

21   GOOGLE LLC,
                                                  Date:     December 14, 2023, 8:00 a.m.
22                Defendant and Counter-          Location: Courtroom 12, 19th Floor
                  Claimant.                       Judge:    Hon. William Alsup
23
24

25

26

27

28

                                              -1-                 Case No. 3:20-cv-06754-WHA
                            GOOGLE’S NOTICE OF MOTION AND MOTION TO AMEND THE JUDGMENT
       Case 3:20-cv-06754-WHA Document 877 Filed 11/07/23 Page 2 of 8




 1                              NOTICE OF MOTION AND MOTION

 2         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3         PLEASE TAKE NOTICE that Google LLC (“Google”) will and hereby does move to

 4 amend the judgment under Fed. R. Civ. Pro. 59(e). This Motion will be heard on December 14,

 5 2023 at 8:00 a.m., or as soon thereafter as the matter may be heard, in Courtroom 12, 19 th
 6 Floor of the San Francisco Courthouse at 450 Golden Gate Avenue, San Francisco,

 7 California, before the Honorable William H. Alsup. This Motion is based on all pleadings,

 8 exhibits, and records in this action, and such other papers, evidence, and/or argument as may be
 9 submitted to the Court in connection with this Motion or that the Court may take notice or otherwise

10 consider.

11

12   DATED: November 7, 2023                    QUINN EMANUEL URQUHART & SULLIVAN,
                                                LLP
13

14                                               By      /s Sean Pak
                                                       Sean Pak
15                                                     Melissa Baily
16                                                     James D. Judah
                                                       Lindsay Cooper
17                                                     Marc Kaplan
                                                       Iman Lordgooei
18

19                                                     Attorneys for Google LLC
20
21

22

23
24

25

26

27

28

                                                 -1-                 Case No. 3:20-cv-06754-WHA
                               GOOGLE’S NOTICE OF MOTION AND MOTION TO AMEND THE JUDGMENT
         Case 3:20-cv-06754-WHA Document 877 Filed 11/07/23 Page 3 of 8




 1 I.       INTRODUCTION

 2          The judgment that the Court entered on October 10, 2023 addresses only two of the asserted

 3 patents and a subset of Google’s defenses to Sonos’s infringement claims regarding those patents.

 4 Google respectfully requests that the Court amend the judgment to address all of the parties’ claims,

 5 defenses and requested remedies to ensure that the Federal Circuit can exercise appellate jurisdiction
 6 over the pending appeal. Sonos does not oppose this Motion.

 7 II.      PROCEDURAL HISTORY

 8          This case includes two cases that have been consolidated: (1) Google’s declaratory judgment
 9 action, which was originally filed in this District (Google LLC v. Sonos, Inc., No. 3:20-cv-06754-

10 WHA, the “California Action”), and (2) Sonos’s patent infringement action, which it originally filed

11 in the Western District of Texas (Sonos, Inc. v. Google LLC, No. 3:21-cv-07559-WHA, the

12 “Transferred Action”).

13          A.     The Relevant Pleadings

14          In the California Action, Google’s original complaint sought declaratory judgments of non-

15 infringement of five patents: U.S. Patent Nos. 9,967,615, 10,779,033, 9,344,206, 10,469,966, and

16 9,219,460. Dkt. 1. Google’s first amended complaint added additional allegations to these claims.

17 Dkt. 41. Google’s second amended complaint (“SAC”) added claims for breach of contract,

18 conversion, declaratory judgment of invalidity of U.S. Patent Nos. 9,967,615, 10,779,033,

19 10,469,966, and declaratory judgment of invalidity and non-infringement of U.S. Patent No.

20 10,848,885. Dkt. 123-3. Because Sonos had withdrawn its infringement allegations regarding the
21 ’206 and ’460 patents in the Transferred Action, Google’s SAC likewise dropped its declaratory

22 judgment claims for these patents. Dkts. 123-3, 132; Trans. Action, Dkt. 151.

23          In response to Google’s SAC, Sonos asserted affirmative defenses to Google’s claims. Dkt.
24 135.     Sonos also asserted as counterclaims the affirmative claims that were pending in the

25 Transferred Action, including claims for infringement of the ’615, ’033, ’966 and ’885 patents. Id.

26 Sonos’s amended answer added additional allegations to these claims and defenses. Dkt. 175-2.

27          Google’s answers to Sonos’s counterclaims and third amended complaint asserted

28 affirmative defenses including non-infringement, invalidity and prosecution laches, among others.

                                                  -2-                 Case No. 3:20-cv-06754-WHA
                                GOOGLE’S NOTICE OF MOTION AND MOTION TO AMEND THE JUDGMENT
       Case 3:20-cv-06754-WHA Document 877 Filed 11/07/23 Page 4 of 8




 1 Dkt. 198-2; Trans. Action, Dkt. 222-2.

 2          B.      Pretrial Disposition Of Claims

 3          In the “patent showdown,” the Court granted Google’s summary judgment motion with respect

 4 to claim 13 of the ’615 patent, finding it both invalid and not infringed. Dkt. 316. In a later round of

 5 summary judgment briefing, the Court also granted summary judgment (1) of invalidity of the asserted
 6 ’033 patent claims and (2) of no willful infringement of the ’885 patent. Dkt. 566.

 7          Although Sonos moved for summary judgment on Google’s breach of contract and

 8 conversion claims (Dkt. 478), Google offered to voluntarily withdraw these claims without
 9 prejudice to streamline the issues for summary judgment and trial if the Court determined that the

10 ’033 claims were invalid. Dkt. 566 at 31. Because the Court did determine that the ’033 claims

11 were invalid, it denied Sonos’s motion as moot “with the understanding that the breach of contract

12 and conversion claims are out of the case.” Id. at 31-32.

13          C.      Posttrial Disposition Of Claims

14          In May 2023, the parties proceeded to trial on the ’885 and ’966 patents. The jury was asked

15 to address (1) validity of both patents, (2) infringement of the ’966 patent by Google’s original

16 design; (3) infringement of both patents by Google’s redesign; (4) willful and indirect infringement

17 of the ’966 patent; and (5) damages. Dkt. 566 at 33. The jury found that Google’s redesigned

18 products infringed claim 1 of the ’885 patent. Dkt. 774. The jury found that Google’s products did

19 not infringe the ’966 patent. Id. at 2-3.

20          Google asserted certain equitable defenses that the parties agreed the Court would decide
21 after trial. Dkt. 615 at 3, 4, 6. The Court heard argument regarding Google’s equitable defenses on

22 August 10, 2023, and issued an order on October 6, 2023, finding the ’885 and ’966 claims

23 unenforceable and invalid for anticipation. Dkts. 855, 868.
24          The Court entered judgment in favor of Google and against Sonos on October 10, 2023. Dkt.

25 869. However, the Court’s judgment addressed only a subset of the parties’ claims, defenses and

26 requested remedies. Id.

27 III.     ARGUMENT

28          To be final, a judgment must dispose of all claims pending in the case. The Federal Circuit

                                                  -3-                 Case No. 3:20-cv-06754-WHA
                                GOOGLE’S NOTICE OF MOTION AND MOTION TO AMEND THE JUDGMENT
       Case 3:20-cv-06754-WHA Document 877 Filed 11/07/23 Page 5 of 8




 1 has refused to exercise appellate jurisdiction where a judgment did not clearly dispose of all claims,

 2 defenses and/or requested remedies. See e.g. Vroom, Inc. v. Sidekick Technology, LLC, No. 2023-

 3 1362, 2023 WL 2881390, at *1-2 (Fed. Cir. 2023) (nonprecedential) (granting appellee’s motion to

 4 dismiss the appeal as premature because although the district court’s order “granting Vroom’s

 5 motion for judgment on the pleadings necessarily resolved Vroom’s claims for declaratory judgment
 6 of non-infringement . . . Vroom’s request for injunctive relief remains pending, rendering this appeal

 7 premature”); Leggett & Platt, Inc. v. VUTEk, Inc., 239 Fed. Appx. 602 (Fed. Cir. 2007)

 8 (nonprecedential) (dismissing appeal for lack of jurisdiction because although the district court had
 9 granted accused infringer’s motion for summary judgment on invalidity, “the district court’s

10 judgment did not, one way or the other, decide its counterclaim for a declaratory judgment of

11 noninfringement”).

12          To streamline the issues to be presented on appeal and ensure that the Federal Circuit will

13 exercise appellate jurisdiction, Google respectfully requests that the Court enter a final judgment

14 addressing all claims, defenses and requested remedies in accordance with the proposed amended

15 judgment submitted herewith. To aid the Court, the disposition of each claim, defense and requested

16 remedy in the parties’ operative pleadings is summarized below:

17   Claim, Defense or Requested Remedy                Disposition
18   Google’s claim for a declaration of               Judgment for Google and against Sonos on
     noninfringement of U.S. Patent No. 9,967,615      Claim 13 pursuant to Dkt. 316.
19   (Dkt. 123-3) and affirmative defense of non-
     infringement (Dkt. 198-2; Trans. Action, Dkt.     Sonos elected not to try the remaining claims
20
     222-2)                                            based on this ruling. Dkt. 615.
21   Google’s claim for a declaration of invalidity    Judgment for Google and against Sonos on
     of U.S. Patent No. 9,967,615 (Dkt. 123-3) and     Claim 13 pursuant to Dkt. 316.
22   affirmative defense of invalidity (Dkt. 198-2;
     Trans. Action, Dkt. 222-2)                        Sonos elected not to try the remaining claims
23                                                     based on this ruling. Dkt. 615.
24   Google’s claim for a declaration of               Moot in light of invalidity determination in Dkt.
     noninfringement of U.S. Patent No.                566.
25   10,779,033 (Dkt. 123-3) and affirmative
     defense of non-infringement (Dkt. 198-2;
26   Trans. Action, Dkt. 222-2)
     Google’s claim for a declaration of invalidity    Judgment for Google and against Sonos
27
     of U.S. Patent No. 10,779,033 (Dkt. 123-3)        pursuant to Dkt. 566.
28   and affirmative defense of invalidity (Dkt.

                                                  -4-                 Case No. 3:20-cv-06754-WHA
                                GOOGLE’S NOTICE OF MOTION AND MOTION TO AMEND THE JUDGMENT
      Case 3:20-cv-06754-WHA Document 877 Filed 11/07/23 Page 6 of 8




1    198-2; Trans. Action, Dkt. 222-2)
     Google’s claim for a declaration of              Moot in light of invalidity and unenforceability
2    noninfringement of U.S. Patent No.               determination in Dkt. 868.
3    10,469,966 (Dkt. 123-3) and affirmative
     defense of non-infringement (Dkt. 198-2;
4    Trans. Action, Dkt. 222-2)
     Google’s claim for a declaration of invalidity   Judgment favor for Google and against Sonos
5    of U.S. Patent No. 10,469,966 (Dkt. 123-3)       pursuant to Dkt. 868.
     and affirmative defense of invalidity (Dkt.
6    198-2; Trans. Action, Dkt. 222-2)
7    Google’s claim for a declaration of              Moot in light of invalidity and unenforceability
     noninfringement of U.S. Patent No.               determination in Dkt. 868.
8    10,848,885 (Dkt. 123-3) and affirmative
     defense of non-infringement (Dkt. 198-2;
9    Trans. Action, Dkt. 222-2)
     Google’s claim for a declaration of invalidity   Judgment for Google and against Sonos
10
     of U.S. Patent No. 10,848,885 (Dkt. 123-3)       pursuant to Dkt. 868.
11   and affirmative defense of invalidity (Dkt.
     198-2; Trans. Action, Dkt. 222-2)
12   Google’s claim for breach of contract (Dkt.      Dismissed without prejudice based on Google’s
     123-3)                                           agreement to withdraw if the Court determined
13                                                    that the ’033 claims were invalid. Dkt. 566.
14   Google’s claim for conversion (Dkt. 123-3)       Dismissed without prejudice based on Google’s
                                                      agreement to withdraw if the Court determined
15                                                    that the ’033 claims were invalid. Dkt. 566.
     Google’s request for a declaration that the      Dismissed without prejudice based on Google’s
16   ’033 patent and any Sonos intellectual           agreement to withdraw if the Court determined
     property based on the cloud queue technology     that the ’033 claims were invalid. Dkt. 566.
17   is Google’s and/or an order requiring Sonos
18   to assign such intellectual property to Google
     (Dkt. 123-3)
19   Google’s request for monetary damages            Dismissed without prejudice based on Google’s
     and/or imposition of a constructive trust over   agreement to withdraw if the Court determined
20   Sonos’s breach of the Content Integration        that the ’033 claims were invalid. Dkt. 566.
     Agreement (Dkt. 123-3)
21
     Sonos’s unclean hands defenses (Dkt. 175-2)      Denied as moot in light of Google’s withdrawal
22                                                    of its breach of contract and conversion claims.
                                                      Dkt. 566.
23   Sonos’s defense of frustration of purpose        Denied as moot in light of Google’s withdrawal
     (Dkt. 175-2)                                     of its breach of contract and conversion claims.
24                                                    Dkt. 566.
25   Sonos’s defense of breach of covenant of         Denied as moot in light of Google’s withdrawal
     good faith and fair dealing (Dkt. 175-2)         of its breach of contract and conversion claims.
26                                                    Dkt. 566.
     Sonos’s novation defenses (Dkt. 175-2)           Denied as moot in light of Google’s withdrawal
27                                                    of its breach of contract and conversion claims.
                                                      Dkt. 566.
28
     Sonos’s waiver defenses (Dkt. 175-2)             Denied as moot in light of Google’s withdrawal
                                                 -5-                 Case No. 3:20-cv-06754-WHA
                               GOOGLE’S NOTICE OF MOTION AND MOTION TO AMEND THE JUDGMENT
      Case 3:20-cv-06754-WHA Document 877 Filed 11/07/23 Page 7 of 8




1                                                     of its breach of contract and conversion claims.
                                                      Dkt. 566.
2    Sonos’s statute of limitations defenses (Dkt.    Denied as moot in light of Google’s withdrawal
3    175-2)                                           of its breach of contract and conversion claims.
                                                      Dkt. 566.
4    Sonos’s defense of right to possession (Dkt.     Denied as moot in light of Google’s withdrawal
     175-2)                                           of its conversion claim. Dkt. 566.
5    Sonos’s consent defense (Dkt. 175-2)             Denied as moot in light of Google’s withdrawal
                                                      of its conversion claim. Dkt. 566.
6
     Sonos’s counterclaim for infringement of         Judgment for Google and against Sonos on
7    U.S. Patent No. 9,967,615 (Dkt. 175-2) and       Claim 13 pursuant to Dkt. 316.
     claim for infringement of U.S. Patent No.
8    9,967,615 (Trans. Action, Dkt. 211)              Sonos elected not to try the remaining claims
                                                      based on this ruling. Dkt. 615.
9    Sonos’s counterclaim for infringement of         Moot in light of invalidity determination in Dkt.
     U.S. Patent No. 10,779,033 (Dkt. 175-2) and      566.
10
     claim for infringement of U.S. Patent No.
11   10,779,033 (Trans. Action, Dkt. 211)
     Sonos’s counterclaim for infringement of         Moot in light of invalidity and unenforceability
12   U.S. Patent No. 10,469,966 (Dkt. 175-2) and      determinations in Dkt. 868.
     claim for infringement of U.S. Patent No.
13   10,469,966 (Trans. Action, Dkt. 211)
14   Sonos’s counterclaim for infringement of         Moot in light of invalidity and unenforceability
     U.S. Patent No. 10,848,885 (Dkt. 175-2) and      determinations at Dkt. 868.
15   claim for infringement of U.S. Patent No.
     10,848,885 (Trans. Action, Dkt. 211)
16   Sonos’s request for an injunction (Dkt. 175-2;   Denied as moot. Dkt. 868.
     Trans. Action, Dkt. 211)
17
     Sonos’s request for enhanced damages for         Denied as moot. Dkt. 868.
18   Google’s willful infringement (Dkt. 175-2;
     Trans. Action, Dkt. 211)
19   Sonos’s request for attorneys’ fees, costs and   Denied as moot. Dkt. 868.
     expenses (Dkt. 175-2; Trans. Action, Dkt.
20   211)
21   Sonos’s request for pre-judgment and post-       Denied as moot. Dkt. 868.
     judgment interest (Dkt. 175-2; Trans. Action,
22   Dkt. 211)
     Google’s defense of prosecution history          Moot in light of determinations for Google on
23   estoppel (Dkt. 199; Trans. Action, Dkt. 222-     all asserted patents. Dkts. 316, 566, 868.
     2)
24
     Google’s defense of unclean hands (Dkt. 198-     Moot in light of determinations for Google on
25   2; Trans. Action, Dkt. 222-2)                    all asserted patents. Dkts. 316, 566, 868.
     Google’s defense of equitable estoppel (Dkt.     Moot in light of determinations for Google on
26   198-2; Trans. Action, Dkt. 222-2)                all asserted patents. Dkts. 316, 566, 868.
     Google’s waiver defense (Dkt. 198-2; Trans.      Moot in light of determinations for Google on
27   Action, Dkt. 222-2)                              all asserted patents. Dkts. 316, 566, 868.
28   Google’s defense of implied license (Dkt.        Moot in light of determinations for Google on
     198-2; Trans. Action, Dkt. 222-2)                all asserted patents. Dkts. 316, 566, 868.
                                                 -6-                 Case No. 3:20-cv-06754-WHA
                               GOOGLE’S NOTICE OF MOTION AND MOTION TO AMEND THE JUDGMENT
       Case 3:20-cv-06754-WHA Document 877 Filed 11/07/23 Page 8 of 8




1     Google’s defense of limitation on liability        Moot in light of determinations for Google and
      (Dkt. 198-2; Trans. Action, Dkt. 222-2)            against Sonos on ’615 and ’033 patents. Dkts.
2                                                        316, 566, 615.
3     Google’s defense of damages limitations            Moot in light of determinations for Google on
      (Dkt. 198-2; Trans. Action, Dkt. 222-2)            all asserted patents. Dkts. 316, 566, 868.
4     Google’s defense of res judicata (Dkt. 199)        Moot in light of determinations for Google on
                                                         all asserted patents. Dkts. 316, 566, 868.
5     Google’s defense of collateral estoppel (Dkt.      Moot in light of determinations for Google on
      199)                                               all asserted patents. Dkts. 316, 566, 868.
6
      Google’s defense of prosecution laches (Dkt.       Judgment in favor of Google and against Sonos
7     198-2; Trans. Action, Dkt. 222-2)                  pursuant to Dkt. 868.

8
     IV.    CONCLUSION
9
            Google respectfully requests that the Court enter an amended final judgment in accordance
10
     with the proposed amended judgment submitted herewith.
11

12    DATED: November 7, 2023                       QUINN EMANUEL URQUHART & SULLIVAN,
                                                    LLP
13

14                                                  By     /s Sean Pak
                                                         Sean Pak
15                                                       Melissa Baily
                                                         James D. Judah
16                                                       Lindsay Cooper
                                                         Marc Kaplan
17
                                                         Iman Lordgooei
18

19                                                       Attorneys for Google LLC

20
21

22

23
24

25

26

27

28

                                                  -7-                 Case No. 3:20-cv-06754-WHA
                                GOOGLE’S NOTICE OF MOTION AND MOTION TO AMEND THE JUDGMENT
